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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

ADIN GESS, et al.,

                        Plaintiffs,

                v.                                   Case No. 2:24-cv-00134-ECM-CWB

BAM TRADING SERVICES INC. d/b/a
BINANCE.US, et al.,                                  ORAL ARGUMENT REQUESTED

                        Defendants.



                     MR. CHANGPENG ZHAO’S MOTION TO DISMISS

        COMES NOW, Defendant Changpeng Zhao, by and through the undersigned counsel,

respectfully moves this Court for an Order pursuant to Federal Rules of Civil Procedure 8,

12(b)(2), and 12(b)(6) dismissing Plaintiffs’ Complaint (ECF No. 1) in its entirety with prejudice.

Mr. Zhao sets forth his arguments for dismissal in an accompanying Memorandum of Law,

Declaration of Christopher Wall and exhibits attached thereto, and all prior proceedings, pleadings,

and filings in this action.

        WHEREFORE, Mr. Zhao respectfully requests that this Court grant his Motion to Dismiss

in its entirety with prejudice.

Dated: April 14, 2025                                Respectfully submitted,

                                                     /s/ Charles A. Stewart III

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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 14, 2025, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to the following:

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